        Case 6:17-cv-00099-CCL Document 43 Filed 06/07/19 Page 1 of 2

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                                                                               JUN 07 2019
                                                                        ~     .. ,.1.S. District Court
                                                                            ...,,,e;.rict Of Montana
                 IN THE UNITED STATES DISTRICT COURT                                    Helena

                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION

KATHERINE DILLON,                                     CV 17-99-H-CCL

                     Plaintiff,

        vs.                                                ORDER

PROGRESSIVE CORPORATION, and
its subsidiaries and affiliates including
PROGRESSIVE CASUAL TY
INSURANCE COMPANY, ARTISAN
AND TRUCKERS CASUALTY
COMP ANY, all doing business as
PROGRESSIVE ®,

                     Defendants.


      Before the Court is Plaintiffs "Unopposed Motion to Vacate Clerk's Entry

of Default." (Doc. 39). Rule 55(c) allows the Court to set aside an entry of

default for good cause. Fed. R, Civ. P. 55(c). Plaintiff fails to provide any reason

for first requesting entry of default and then moving to vacate the entry of default.

The Court has therefore reviewed the record in search of good cause.

      The Clerk entered default as to Defendants Progressive Corporation and

Artisan and Truckers Casualty Company on May 3 0, 2019, the day after Plaintiff
        Case 6:17-cv-00099-CCL Document 43 Filed 06/07/19 Page 2 of 2




requested entry of default. Defendant Progressive Corporation filed a motion to

dismiss on June 3, 2019, and Defendant Artisan and Truckers Casualty Company

filed its answer on June 5, 2019.

      It seems likely that Defendants would have themselves moved to set aside

default, had Plaintiff not indicated her intent to do so. There is no indication in the

record of culpable conduct on the part of Defendants, who have raised potentially

meritorious defenses to Plaintiff's complaint. Neither party will be prejudiced by

the setting aside of the default. The Court therefore finds good cause to set aside

the defaults entered by the Clerk. Accordingly,

      IT IS HEREBY ORDERED that Plaintiff's Unopposed Motion to Vacate

Clerk's Entry of Default (Doc. 39) is GRANTED.         The Clerk is directed to set

aside the defaults entered against Defendant Progressive Corporation and

Defendant Artisan and Truckers Casualty Company.

      Dated this~ay of June, 2019.




                                           ~g~
                                        SENIOR UNITED ST ATES DISTRICT JUDGE

                                         Page 2 of 2
